Case No. 1:20-mj-00033-STV Document 1-1 filed 02/28/20 USDC Colorado pg 1 of 6




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Case No. 1:20-mj-00033-STV Document 1-1 filed 02/28/20 USDC Colorado pg 2 of 6




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Case No. 1:20-mj-00033-STV Document 1-1 filed 02/28/20 USDC Colorado pg 4 of 6




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